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  12

  13                        UNITED STATES DISTRICT COURT
  14                      CENTRAL DISTRICT OF CALIFORNIA
  15

  16   IN RE: NATIONAL FOOTBALL                   Case No. 2:15-ml-02668−BRO (JEMx)
       LEAGUE’S “SUNDAY TICKET”
  17
       ANTITRUST LITIGATION
  18                                              PLAINTIFFS’ NOTICE OF
                                                  APPEAL TO THE UNITED
  19   THIS DOCUMENT RELATES TO:                  STATES COURT OF APPEALS
                                                  FOR THE NINTH CIRCUIT
  20   ALL ACTIONS
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       5233218v1/014918
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   1
               PLEASE TAKE NOTICE that Plaintiffs Ninth Inning Inc. dba The Mucky
   2
       Duck, 1465 Third Avenue Restaurant Corp. dba Gael Pub, Gary Lippincott, Jr., and
   3
       Michael Holinko hereby appeal to the United States Court of Appeals for the Ninth
   4
       Circuit from the Final Judgment entered in this action on July 13, 2017 (Docket No.
   5
       254), attached hereto as Exhibit A, and the prior orders, rulings, findings,
   6
       stipulations, and conclusions it encompasses, including the Court’s Order Re The
   7
       NFL Defendants’ Motion to Dismiss (Docket No. 251 (redacted version)), attached
   8
       hereto as Exhibit B.
   9
               Pursuant to Ninth Circuit Rule 3-2(b), the Plaintiffs’ Representation
  10
       Statement is attached to this Notice of Appeal as Attachment 1.
  11

  12

  13   Dated: July 28, 2017                  Respectfully submitted,
  14

  15                                         By:    /s/ Marc M. Seltzer
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